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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ
AND LUIS GORDILLO, ET AL.,

individually and on behalf of all
others similarly situated,

Vv. C.A. No. 18-10225-MLW

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)
Petitioners-Plaintiffs, )
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)
)
KEVIN McALEENAN, ET AL., }

)

)

Respondents-Defendants.

ORDER

 

WOLF, D.Jd. June 17, 2019

It is hereby ORDERED that:

1. Petitioner's Assented to Motion to Seal (Docket No. 267)
is ALLOWED. Unredacted versions of the relevant submissions shall
be filed forthwith under seal.

2. Defendants-Respondents shall, by 4:00 p.m. on June 17,
2019, either: (a) file a memorandum and affidavit(s) in response
to Petitioner(s) Emergency Motion (Docket No. 268); or (b) request
until 9:00 a.m. on June 19, 2019, to respond to it.

3. If an extension of time to respond is not requested, a
hearing on the Emergency Motion will be held on June 18, 2019 at

11:00 a.m.
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4, "Mr. V." shall not be removed before the Emergency Motion

is decided. See 28 U.S.C. §1651(a).

 

UNITED STATES DISTRICT JUDGE
